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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

CASE NO:

WINDJAMMER LANDING, INC.,

Plaintiff,
vs.

 

DONALD SMITH, SR., LYNNE CRAM SMITH,
WINDJAMMER LANDING COMPANY, LTD.,
and ELLIS DON, LTD.,

Defendants.
/

 

COMPLAINT

Plaintiff, WINDJAMMER LANDING, INC., sues the Defendants, DONALD SMITH, SR.,
LYNNE CRAM SMITH, WINDJAMMER LANDING COMPANY, LTD., and ELLIS DON, LTD.,
and alleges:

1. This action is based upon diversity of citizenship and ts filed under 28 U.S.C. §1332.
The matter in controversy exceeds, exclusive of interest and costs, the sum of Seventy-Five
Thousand Dollars ($75,000.00).

2. Plaintiff, WINDJAMMER LANDING, INC., is a Florida corporation, with its
principal place of business in Fort Lauderdale, Broward County, Florida. Plaintiff is the assignee and
successor-in-interest of BALI INTERNATIONAL, LTD., and has standing to file this action.

3. Defendant, DONALD SMITH, SR., is a Canadian citizen, and is otherwise sui juris.

4, Defendant, LYNNE CRAM SMITH, is a Canadian citizen, and is otherwise sui juris.

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5. Defendant, WINDJAMMER LANDING COMPANY, LTD., is a Bahamian
Corporation.

6. Defendant, ELLIS-DON, LTD., is a Canadian corporation, and upon information and
belief, is also the parent company to numerous ELLIS-DON controlled subsidiaries.

ALLEGATIONS COMMON TO ALL COUNTS

7. At all times material hereto, Defendant, WINDJAMMER LANDING COMPANY,
LTD., a Bahamian corporation, owned real estate in St. Lucia, West Indies, upon which is located
the WINDJAMMER LANDING RESORT, a multi-million dollar hotel and resort complex.

8. Prior to May 19, 1994, DAVID WILKES CRAM (hereinafter referred to as DAVID
CRAM) owned 499 shares (roughly 50%) of Defendant, WINDJAMMER LANDING COMPANY,
LTD., inclusive of its interest in the WINDJAMMER LANDING RESORT.

9. On May 19, 1994, DAVID CRAM filed a voluntary Chapter 7 Bankruptcy Petition
in the West Palm Beach Division of the United States Bankruptcy Court, Southern District of
Florida. The bankruptcy filing was assigned Case Number 94-31688 BKC-SHF.

10. Upon the filing of his Chapter 7 bankruptcy petition, all of DAVID CRAM’s
non-exempt assets, wherever situated, became part of his bankruptcy estate, and were thereafter
subject to the disposition of the Chapter 7 Bankruptcy Trustee.

11. At all times material hereto, PATRICIA DZIKOWSKI was the Chapter 7 Bankruptcy
Trustee assigned to DAVID CRAM’s bankruptcy proceeding.

12. By virtue of her status as Chapter 7 Trustee, PATRICIA DZIKOWSKI was
responsible for marshaling and disposing of the non-exempt assets of DAVID CRAM, and otherwise

coordinating his bankruptcy proceedings.
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13. DAVID CRAM’s Fifty Percent (50%) ownership interest in the WINDJAMMER
LANDING RESORT (by and through his ownership interest in WINDJAMMER LANDING
COMPANY, LTD) was specifically included in his bankruptcy petition as a non-exempt asset, and
was therefore part of his bankruptcy estate.

14. By operation of law, on May 19, 1994, DAVID CRAM’s right, title and interest in
the stock of WINDJAMMER LANDING COMPANY, LTD., including his interest in the
WINDJAMMER LANDING RESORT, became property of DAVID CRAM’s bankruptcy estate,
and therefore could not be sold or otherwise transferred to any third party without the knowledge and
consent of Chapter 7 Bankruptcy Trustee PATRICIA DZIKOWSKI.

15, On June 27, 1997, the Plaintiff's predecessor, BALI INTERNATIONAL, LTD.,
purchased from PATRICIA DZIKOWSKI the Chapter 7 Bankruptcy Trustee’s nght, title and
interest in the stock of WINDJAMMER LANDING COMPANY, LTD., including its interest in the
WINDJAMMER LANDING RESORT. A copy of the Bill of Sale is attached hereto, and
incorporated herein as Plaintiff's Exhibit “A”.

16. In 1996, unbeknownst to the U.S. Bankruptcy Court, the Chapter 7 Trustee or
DAVID CRAM’s creditors, the Defendant, DONALD SMITH, SR., unilaterally transferred title to
the WINDJAMMER LANDING RESORT and/or DAVID CRAM’s Fifty Percent (50%) interest
in WINDJAMMER LANDING COMPANY, LTD. to a company controlled by the Defendant,
ELLIS-DON, LTD.

17. At all times material hereto, DONALD SMITH, SR. owned a substantial interest in

the Defendant Canadian corporation, ELLIS-DON, LTD., and was a controlling principal thereof.
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18. The fraudulent transfer of DAVID CRAM’s above-described property interest and/or
ownership interest was completed by DONALD SMITH, SR.., or upon the instructions of DONALD
SMITH, SR., at a time when DONALD SMITH, SR. had actual knowledge of DAVID CRAM’s
pending bankruptcy proceedings.

19. DONALD SMITH, SR.’s fraudulent conveyance was performed deliberately, and in
willful disregard of the controlling laws of the United States, the United States Bankruptcy Court,
and the authority of the Chapter 7 Trustee.

20. | Upon information and belief, Defendant LYNNE CRAM SMITH (the ex-wife of
DAVID CRAM and the daughter of Defendant, DONALD SMITH, SR.) owned one share of
WINDJAMMER LANDING COMPANY, LTD., and assisted Defendant DONALD SMITH, SR.
in the fraudulent transfer of DAVID CRAM’s above-described property interest and/or ownership
interest.

21. Upon information and belief, in 1996 the Defendant, ELLIS-DON, LTD., or a wholly
owned subsidiary thereof, sold and transferred title to the WINDJAMMER LANDING RESORT
to GALILEO WORLD, an Italian company, for Thirty-Eight Million Dollars ($38,000,000.00).

22. | Upon information and belief, ELLIS-DON, LTD., or a wholly owned subsidiary
thereof, foreclosed upon GALILEO WORLD ’s interest in the subject property, and has either resold
the WINDJAMMER LANDING RESORT, or is now attempting to resell the resort property.

COUNT I- CONVERSION
23. Plaintiff realleges paragraphs one (1) through twenty-two (22), and further alleges:
24. This is an action for damages in excess of Seventy-Five Thousand Dollars

($75,000.00)
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25.  In1996, Defendants, DONALD SMITH, SR., LYNNE CRAM SMITH, and ELLIS-
DON, LTD. converted to their own use an improved parcel of property in St. Lucia, West Indies,
more commonly known as the WINDJAMMER LANDING RESORT, to which a 50% percent
interest therein was the property of the Chapter 7 Bankruptcy Trustee (and ultimately the property
of the Plaintiff), and the value of said property was THIRTY-EIGHT MILLION DOLLARS
($38,000,000.00).

WHEREFORE, Plaintiff demands judgment against Defendants DONALD SMITH,
SR., LYNNE CRAM SMITH, and ELLIS-DON, LTD., jointly and severally, in the principal amount
of NINETEEN MILLION DOLLARS ($19,000,000.00), plus the costs and disbursements of this
action, prejudgment and post-judgment interest, and attorneys fees pursuant to Florida Statutes,
§57.105, if applicable.
COUNT II - CIVIL CONSPIRACY

23. Plaintiff realleges paragraphs one (1) through twenty-two (22), and further alleges:

24. In 1995 and 1996, Defendants DONALD SMITH, SR., LYNNE CRAM SMITH,
ELLIS-DON, LTD., and WINDJAMMER LANDING COMPANY, LTD. conspired to convert to
their own use an improved parcel of property in St. Lucia, West Indies, more commonly known as
the WINDJAMMER LANDING RESORT, to which a 50% percent interest therein was the property
of DAVID CRAM’s Chapter 7 Bankruptcy Trustee (and ultimately the property of the Plaintiff), and
the value of said property was THIRTY-EIGHT MILLION DOLLARS ($38,000,000.00).

25. That the Defendants committed overt acts in furtherance of the conspiracy, including,
but not limited to attending a special meeting of shareholders of WINDJAMMER LANDING
COMPANY, LTD. for the express purpose of fraudulently divesting DAVID CRAM of his interest

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in the Bahamian corporation, and to authorize the fraudulent conveyance of the WINDJAMMER
LANDING RESORT to either ELLIS-DON, LTD., or a wholly owned subsidiary thereof.

26. That asa direct and proximate result of the civil conspiracy perpetrated by the above-
named Defendants, resulting in the fraudulent conveyance of the WINDJAMMER LANDING
RESORT, the Plaintiff was deprived of its title and interest in the stock of WINDJAMMER
LANDING COMPANY, LTD., and more specifically its Fifty Percent (50%) interest in the
WINDJAMMER LANDING RESORT.

WHEREFORE, Plaintiff demands judgment against Defendants DONALD SMITH,

SR., LYNNE CRAM SMITH, and ELLIS-DON, LTD., jointly and severally, in the principal amount
of NINETEEN MILLION DOLLARS ($19,000,000.00), plus the costs and disbursements of this
action, prejudgment and post-judgment interest, and attorneys fees pursuant to Florida Statutes,
§57.105, if applicable.

Respectfully submitted,

LAW OFFICES OF TORRES & TORRES, P.A.

15327 N.W. 60th Avenue, Suite 215

Miami Lakes, FL 33014

Telephone (305) 698-0926
Telecopier (305) 698-0028

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*YRONLS R. TORRES, ESQUIRE
Case 1:99-cv-02642-DLG Document1 Entered on FLSD Docket 10/06/1999 Page 7 of 8
7 UNITED STATES BANKRUPTCY COURT

SOUTHERN OLSTRICT OF FLORIDA

Ince: Cade Neo. 94~-31688-8KC-SHF
Chaptes 7 ;

DAVID WILKES CRAM,
Debtor(s).

 

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($3,000;90) Dellara and the waiver of any and 11 claims which Sali
International, Ltd. and/or ite principal, Jeffrey Firestone, agent,
may have in this case, PATRICIA DZIKOWSKI, TRUSTEE, hereby sells

the following property to BALI INTERNATIONAL, LTD.:

The Trustee’s right, title and interest in the stock of
windjammey Landing Company, Ltd., a Sshemian corporation,
including ita interest in The Windjemmer Landing Recort
in 8t, Lueda, stock and/or pertnerahip interests therein,
and any rights or causes of action which tna Debtor,
pavid Wilkes Cran, and/or the Trustees, es successor {tn
interest to the Debtor may have a right te bring eqaingt
eny persons and/or entities and any successors thereto,
including, bué not Linited tg, Windjammer eahamas,
arising from these ownership interests,

DATED nis QQ] day of June, 1997,

Suite A-205
Laudernily? Floridg 33381 ~~
(954) 748-4377

anh
SWORN TO AND SUBSCRIBED before me this day of June,

2997, by PATRICIA DBSIKGWSRI, Bankruptcy Trustee for the estate of
David Wilkes Crap, Case Number 94~-1608-BXcC-SHF, whe is personally

 

EXHIBIT A

   

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by law, except as provided by local rules of court, This form approved by the Judicial Conference of the United States in September 197¢, Is required for the use
of the Clerk of Court tor the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM}

1. (a) PLAINTIFFS DEFENDANTS

Windjammer Landing, Donald Smith, Sr., Lynne Cram Smith

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Inc.

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